
62 So.3d 1141 (2011)
William MILLER, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D11-976.
District Court of Appeal of Florida, Fifth District.
May 6, 2011.
Rehearing Denied June 10, 2011.
William Miller, Wewahitchka, pro se.
No appearance for Respondent.
PER CURIAM.
William Miller petitions for certiorari review of the denial of a motion filed pursuant to Florida Rule of Criminal Procedure 3.850. We treat the petition for certiorari as an appeal, see Florida Rule of Appellate Procedure 9.040(c), and affirm.
AFFIRMED.
PALMER, LAWSON and COHEN, JJ., concur.
